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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA


         APPLE INC.
                                                              Case No. 12-ev-00630-LHK
                                Plaintiff(s),
                                                               ADR CERTIFICATION BY PARTIES
                                                               AND COUNSEL
                        V.

         SAMSUNG ELECTRONICS CO., LTD,
         SAMSUNG ELECTRONICS
                        Defendant(s).



                 Pursuant to Civil L.R. 16-8(b) and ADR L.R. 3-5 (b), each of the undersigned certifies
         that he or she has:

                 (1) Read the handbook entitled "Dispute Resolution Procedures in the Northern District
         of California' on the Court's ADR Internet site www.adr.cand.uscourts. gov (Limited printed
         copies are available from the clerk's office for parties in cases not subject to the court's
         Electronic Case filing program (ECF) under General Order 45);

                  (2) Discussed the available dispute resolution options provided by the Court and private
         entities; and

                 (3) Considered whether this case might benefit from any of the available dispute
         resolution options.



         Dated:     t. 1'__2-0 (Z-
                                                                              [Party]       r► ywnal




         Dated:
                                                                              [Counsel] V c,4r; y YYlarow ,,



       When filing this document in ECF, please be sure to use the ADR Docket Event entitled
       "ADR Certification (ADR L.R. 3-5b) of Discussion of ADR Options."




Rev. 12105
